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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

 

SHERYL WULTZ, et al.

Plaintiffs,
Civil File No. 1208-cv-01460 (RCL)

v
THE ISLAMIC REPUBLIC OF IRAN,

et al.,

Defendants.

 

DECLARATION OF WALTER P. LOUGHLIN
I, Walter P. Loughlin, declare and state as follows:
l. I am a partner with the law finn K&L Gates LLP, counsel to Defendant Bank of
China Limited (“BOC”) in this action.
2. I have been admitted pro hac vice to practice in this Court. I am familiar with the

facts in this matter and submit this Declaration in connection with Defendant BOC’s Motion To

Dismiss the First Amended Complaint.

3. Attached to this Declaration are true and correct copies of the following

documents:

a. Exhibit l, lsraelz' Victims Of T error File Suit Against Bank of China, Wall

Street Journal, Aug. 23, 2008, at p. A5;

b. Exhibit 2, Cash sent to Gaza banks, Haaretz, Dec. 12, 2008;

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c. Exhibit 3, Plaintiffs’ Memorandum of Points and Authorities filed in

Zahavi v. Bank of Chl'na Lta'., No. CV 08-06236, an action recently dismissed, voluntarily

by the plaintiffs, in the United States District Court for the Central District of California;

d. Exhibit 4, Preventl'on of Terrorism Ora'inance, 5 708-1 948;

e. Exhibit 5, T71e Penal Law, 573 7-]977, fm 145-148;

f. Exhibit 6, The Penal Law oflsrael (626/]996), W 13-14; and
g. Exhibit 7, T he Defence (Emergency) Regulations of 1 945 .

4. In connection with BOC’s motion to dismiss, on behalf of BOC, my law firm
engaged Rina Ne’eman Hebrew Language Services, Inc. (“Hebrew Language Services”) to
translate into English five judicial opinions issued by the Supreme Court of the State of Israel.
True and correct copies of these translations are attached to this Declaration:

a. Exhibit 8, CA 145/80 Vaknin v. Beit Shemesh Local Council [1982] IerC

37(1) 113;

b. Exhibit 9, CA 915/91 State of Israel v. Levy, [1994] IerC 48(3) 45;
c. Exhibit 10, S. Ct. 1740/91 Barclays Discount Bank v. Frost Koslman

[1993] IerC 47(5) 31;

d. Exhibit ll, CA 8068/01 Ayalon Insurance Company Lta'. v. Executor of
the Oppalger Estate [2004] IerC 59(2) 349; and

e. Exhibit 12, CA 1636/98 Rav Bariach Lta'. v. Havshush Vehicle Accessory
Traa'z'ng House Ltd. [2001] IerC 55(5) 337.
5. Attached to each translation is a Certiiicate of Accuracy prepared and executed by

a representative of Hebrew Language Services. As described in these certiticates, Hebrew

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Language Services “is a company that specializes exclusively in Hebrew 'l`ranslation, with over
twenty five years of experience in the translation industry.”

6. I declare under penalty of perjury that the foregoing is true and correct

Dated: March 5, 2009
New York, New York

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Walter P Loughlin[

